UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

ESTATE OF KE ZHENGGUANG,

                              Petitioner,                     Case No. 8:20-cv-02260-GJH
               -against-
                                                                   Correction of Filing
YU NAIFEN STEPHANY
(a/k/a STEPHANY YU,
a/k/a STEPHANY NAIFEN YU,
a/k/a STEPHANY N. DOMBROWSKI)

                              Respondent.




Petitioner, by and through its undersigned attorney provide as follows:

Enclosed within this filing is the Summons and Civil Cover Sheet which was not included with
the initial filing.


Dated: August 6, 2020
                                                            LAW OFFICES OF                ALLAN
                                                            POTESHMAN, LLC
                                                    By:     ____________
                                                           Allan Poteshman
                                                           103 Mariam Pass
                                                           Middletown, MD 21769
                                                           (240) 490-1070
                                                           allanpoteshman@gmail.com
